                 Case 2:11-cr-00449-KJM Document
                              UNITED STATES      152 FiledCOURT
                                              DISTRICT    10/11/12 Page 1 of 1
                               EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,             )
     Plaintiff,                       )
                                      )
    v.                                ) CR NO: 2:11-cr-449 KJM
                                      )
BRYAN R. SCHWEDER, et al.             )
    Defendants.                        )
                    APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                      : Ad Prosequendum                            9 Ad Testificandum.
Name of Detainee:        PAUL BRUCE ROCKWELL, Booking No. 3064060
Detained at (custodian): LA County Sheriff’s Department
                         North County Correctional Facility
                         29340 The Old Road, Castaic, CA 92384
Detainee is:   a.)    : charged in this district by:
                            : Indictment                     9 Information                    9 Complaint
                            Charging Detainee With:
         or    b.)    9 a witness not otherwise available by ordinary process of the Court
Detainee will: a.)    9 return to the custody of detaining facility upon termination of proceedings
       or      b.)    : be retained in federal custody until final disposition of federal charges, as a sentence is
                        currently being served at the detaining facility
Appearance is necessary in the Eastern District of California for arraignment on conspiracy to manufacture
marijuana plants resulting in this indictment.
                              Signature: /s/ Samuel Wong
                              Printed Name & Phone No: Samuel Wong, AUSA, 916-554-2772
                              Attorney of Record for:      United States of America
                                         WRIT OF HABEAS CORPUS
                          : Ad Prosequendum                          9 Ad Testificandum
The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, PAUL BRUCE ROCKWELL, and any
further proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee to
the above-named custodian.

Date: October 11 , 2012                                             EDMUND F. BRENNAN
                                                                    United States Magistrate Judge
Please provide the following, if known:
 AKA(s) (if applicable):                                                                   Male :   Female 9
 Booking or CDC #:              Booking No. 3064060                                        DOB:     12/31/70
 Facility Address:              29340 The Old Road                                         Race:    White
                                Castaic, CA 92384                                          FBI #:
 Facility Phone:                661-295-7800
 Currently Incarcerated For: Conspiracy to Manufacture Marijuana Plants
                                               RETURN OF SERVICE
Executed on               by
                                                                             (Signature)



Form Crim-48                                                                                           Revised 11/19/97
